Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 1 of 29 PageID #: 21719




                Exhibit 1
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 2 of 29 PageID #: 21720
                                                                                                           USOO6713488B2

  (12) United States Patent                                                             (10) Patent No.:                 US 6,713,488 B2
         Sadée et al.                                                                   (45) Date of Patent:                       Mar. 30, 2004

  (54) NEUTRAL ANTAGONISTS AND USE                                                   WO         WO 96/14071              5/1996
          THEREOF IN TREATING DRUGABUSE                                              WO         WO 98/52565             11/1998
  (76) Inventors: Wolfgang Sadée, P.O. Box 232, Ross,                                               OTHER PUBLICATIONS
                  CA (US) 94957; Danxin Wang, 1234                                   Fujimoto, J.M., et al., “Narcotic Antagonist Activity of
                         6th Ave., Apt. #3, San Francisco, CA                        Several Metabolites of Naloxone and Naltrexone Tested in
                         (US) 94.122                                                 Morphine Dependent Mice,” Proceedings of the Society for
                                                                                     Experimental Biology and Medicine, 148:443-448 (1975).
  (*) Notice:            Subject to any disclaimer, the term of this                 Wang, Z., et al., “Constitutive it Opioid Receptor Activation
                         patent is extended or adjusted under 35                     as a Regulatory Mechanism Underlying Narcotic Tolerance
                         U.S.C. 154(b) by 0 days.                                    and Dependence,” Life Sciences, 54(20):PL339–350 (1994).
                                                                                     Bilsky, E.J., et al., “Effects of Naloxone and D-Phe
  (21) Appl. No.: 10/173,337                                                         Cys-Tyr-D-Trp-Arg-Thr-Pen-Thr-NH and the Protein
                                                                                     Kinase Inhibitors H7 and H8 on Acute Morphine Depen
  (22) Filed:            Jun. 14, 2002                                               dence and Antinociceptive Tolerance in Mice.” The Journal
  (65)                  Prior Publication Data                                       of Pharmacology            and Experimental           Therapeutics,
          US 2003/0069262 A1 Apr. 10, 2003
                                                                                     277(1):484-490 (1996).
                                                                                                  (List continued on next page.)
                   Related U.S. Application Data                                     Primary Examiner James H Reamer
  (63) Continuation of application No. 09/809,637, filed on Mar.                     (74) Attorney, Agent, or Firm Mueller and Smith, LPA
       15, 2001, now abandoned.                                                      (57)                       ABSTRACT
  (60) Provisional application No. 60/189,372, filed on Mar. 15,
          2000.                                                                      The invention relates to the use of naltrexone and naloxone
  (51) Int. Cl." .............................................. A61K31/485           analogs, which are neutral antagonists at the 4 opioid
  (52) U.S. Cl. ....................................................... 514/282      receptor, for the treatment of drug dependency in a drug
  (58) Field of Search                                                  514/282      dependent individual. Surprisingly, it has been found that
                                 ----- ----- ------ --- ----------- --------- -- -   administration   of   a   therapeutically   effect   amount   of   the


  (56)                      References Cited                                         naloxone or naltrexone analogs described herein for the
                                                                                     treatment of a drug dependency, can result in reduction of
                  U.S. PATENT DOCUMENTS                                              undesirable Side effects resulting from current treatments
         3,254,088 A    5/1966 Lewenstein et al. ........ 260/285                    using naloxone and naltrexone. For example, the treatment
         3,332,950 A          7/1967 Blumberg et al. .......... 260/285              described herein can result in a reduction in the withdrawal
         3,523,906 A          8/1970 Vrancken et al. ........... 252/316             Symptoms and aversion encountered in the use of naloxone
         3.691,090 A          9/1972 Kitajima et al. ..... ... 252/316               and naltrexone in the treatment of drug dependency. In
         3,737,337 A          6/1973 Schnoring et al. .......... 117/100             addition, the naltrexone and naloxone analogs of the inven
         3,891,570 A          6/1975 Fukushima et al.......... 252.316               tion can be used for the treatment of pain in an individual in
         3,960,757 A          6/1976 Morishita et al. ........... 252/316            need thereof by modulating opoid pain treatment using
         i. A                 SE Mi Nine al... 1.                                    neutral antagonists, for example, reversing respiratory
         4.760,069 A 7/1988 RZeSZotarski et al. 514f282                              depression withough causing other adverse effects. In
          2 - Y-2                                                                    addition, during chronic use of opioid drugs for pain therapy,
                  (List continued on next page.)                                     neutral antagonists can be used to diminish constipation
                  FOREIGN PATENT DOCUMENTS                                           peripherally without effecting the central analgesic effects.
  CH                    683.005 A5           12/1993                                               29 Claims, 7 Drawing Sheets


                                                             No treatment
                                                             Morphine treatment
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 3 of 29 PageID #: 21721


                                                             US 6,713.488 B2
                                                                        Page 2


                   U.S. PATENT DOCUMENTS                                     Burford, N.T., et al., “Specific G Protein Activation and
       4,816,586 A       3/1989 Portoghese ................. 544/340
                                                                             ti-opioid Recepter Internalization Caused by Morphine,
       4.889,860   A   12/1989    Rzeszotarski et al. ......      514/282    DAMGO and Endomorphin I, European Journal of Phar
       5,019,400   A    5/1991    Gombotz et al. ...........      424/497    macology, 342:123–126 (1998).
       5,051,426   A    9/1991    Parnell ................ ...    514/263    Wang, Danxin, et al., “Calmodulin Binding to G Protein
       5,256,669   A   10/1993    Askanazi et al. .         ...   514/282    coupling Domain of Opioid Receptors.” The Journal of
       5,266,574 A      11/1993 Zagon et al. ............... 514/282         Biological Chemistry, 274(31):22081–22088 (1999).
       5,426,112 A       6/1995 Zagon et al. ............... 514/282         Burford, N.T., et al., “G-Protein Coupling of u-Opioid
       5,650,173 A       7/1997 Ramstack et al.             ... 424/489      Receptors (OP) : Elevated Basal Signalling Activity,” Bio
       5,656.297 A       8/1997 Bernstein et al. .          ... 424/484      chemical Journal, 348:531-537 (2000).
       5,681,830 A     10/1997 Chang et al. ................. 514/85         Wang, Danxin, et al., “Calmodulin Regulation of Basal and
       5,760,044 A       6/1998 Archer ....................... 514/282       Agonist-Stimulated G Protein Coupling by the u-Opioid
       5,780,479   A    7/1998    Kim ........................... 514/282
       5,792.477   A    8/1998    Rickey et al. .             ... 424/501    Receptor (OP) in Morphine-Pretreated Cells,” Journal of
       5,852,032   A * 12/1998    Mason .........            ... 514/282     Neurochemistry, 75(2):763–771 (2000).
       5,854.249   A 12/1998      Chang et al. ..             ... 514/255    Comer, S.D., et al., “Clocinnamox: A Novel, Systemically
       5,882,944 A       3/1999 Sadee ...........           ... 436/501      Active, Irreversible Opioid Antagonist''", The Journal of
       5,916,598 A       6/1999 Rickey et al. .             ... 424/501      Pharmacology       and      Experimental      Therapeutics,
       5,922,253 A       7/1999 Herbert et al. ................. 264/5       262(3):1051–1056 (1992).
       6,004,970 A     12/1999 O'Malley et al. .                  514/282    Palmer, R. B., et al., “(E)-and (Z)-7-Arylidenenaltrexones:
       6,007,986   A   12/1999    Sadee ............................ 435/6   Synthesis and Opioid Receptor Radioligand Displacement
       RE36,547    E    2/2000    Crain et al. ....           ... 514/282
       6,054,127   A    4/2000    Swain et al. ...              424/1941     Assays,” J. Med. Chem., 40(5):749–753 (1997).
       6,109,269   A    8/2000    Rise et al. .....           ... 514/282    Neilan, C.L., et al., “Constitutive Activity of the 8-Opioid
       6,110,503 A       8/2000 Rickey et al. .           ... 424/501        Receptor Expressed in C6 Glioma Cells: Identification of
       6,194,006 B1      2/2001 Lyons et al. ................ 424/489        Non-Peptide Ö-Inverse Agonists,' British Journal of Phar
                                                                             macology, 128(3):556-562 (1999).
                    OTHER PUBLICATIONS                                       Wong, Y.H., “G, Assays in Transfected Cells,” Methods in
                                                                             Enzymology, 238:81-94 (1994).
  Ferrari, A., et al., "Serum Time Course of Naltrexone and                  Porreca, F., et al., “Roles of Mu, Delta and Kappa Opioid
  6B-Naltrexol Levels. During Long Term Treatment in Drug                    Receptors in Spinal and Supraspinal Mediation of Gas
  Addicts,” Drug and Alcohol Dependence, 52:211-220                          trointestinal Transit Effects and Hot-Plate Analgesia in the
  (1998).                                                                    Mouse”, The Journal of Pharmacology and Experimental
  Gardner, E.L., “Brain Reward Mechanisms’. In Substance                     Therapeutics, 230(2):341-348 (1984).
  Abuse. A Comprehensive Textbook, Fisher, M.G., eds.,                       Plapp, B.V., “Control of Alcohol Metabolism”. In Toward a
  (MD:Williams & Wilkins), pp. 70-99 (1992).                                 Molecular Basis of Alcohol Use and Abuse, B. Jansson, et
  Nestler, E. J., “Molecular Mechanisms of Drug Addiction,”                  al.,ed., (Birkhäuser Verlag Basel/Switzerland), pp. 311-322
  The Journal of Neuroscience, 12(7):2439-2450 (1992).                       (1994).
                                                                             Yano, I., and Takemori, A.E., “Inhibition by Naloxone of
  Chatterjie, N., and Inturrisi, C.E., “Stereospecific Synthesis             Tolerance and Dependence in Mice Treated Acutely and
  of the 6B-Hydroxy Metabolites of Naltrexone and Nalox                      Chronically with Morphine,” Research Communications in
  one,” Journal of Medicinal Chemistry, 18(5):490–492                        Chemical Pathology and Pharmacology, 16(4):721-734
  (1975).                                                                    (1977).
  Jiang, J.B., et al., “Stereochemical Studies on Medicinal                  Abstract for Accession No. 1993-406332/199351 from
  Agents. 23. Synthesis and Biological Evaluation of                         World Patent Index Database compiled by Derwent Infor
  6-Amino Derivatives of Naloxone and Naltrexone,” Journal                   mation Limited.
  of Medicinal Chemistry, 20(8): 1100–1102 (1977).                           * cited by examiner
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 4 of 29 PageID #: 21722


  U.S. Patent         Mar. 30, 2004    Sheet 1 of 7         US 6,713,488 B2




                                      FIG 1
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 5 of 29 PageID #: 21723


  U.S. Patent         Mar. 30, 2004    Sheet 2 of 7         US 6,713,488 B2




              120

              cr: ©

              60

              30



              -30




                                      FIG. 2
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 6 of 29 PageID #: 21724


  U.S. Patent           Mar. 30, 2004     Sheet 3 of 7      US 6,713,488 B2




                  125
                           V. Naloxone
                           O Natrexone
                  100
                            K 6B-N altrexol
                   75


                   5O


                   25




                                 Antagonists (log, M)



                                    FIG 3
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 7 of 29 PageID #: 21725


  U.S. Patent         Mar. 30, 2004    Sheet 4 of 7         US 6,713,488 B2




             75




             5O




             25




                             FIG.4
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 8 of 29 PageID #: 21726


  U.S. Patent            Mar. 30, 2004         Sheet 5 of 7         US 6,713,488 B2




              250      O Naltrexone
                       V. Naloxone
                       Sk 6B-Naitrexol
              200
        O
         E
        ban
              150
        O
        C)
        o
         E 100
         O
        2

               50



                O
                0.01        0.1           1.            10    100
                       Dose of Antagonist (mg/kg)


                                         FIG. 5
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 9 of 29 PageID #: 21727


  U.S. Patent         Mar. 30, 2004    Sheet 6 of 7         US 6,713,488 B2




             110




              68O5
              35



              1O




                                 FIG. 6
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 10 of 29 PageID #: 21728


   U.S. Patent         Mar. 30, 2004      Sheet 7 of 7         US 6,713,488 B2




                                       O Naltrexone
                                       V. Naloxone
                                       k 6B-Naltrexol




                       0.1                       10      100
                  Dose of Antagonist (mg/kg)



                               FIG. 7
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 11 of 29 PageID #: 21729


                                                       US 6,713,488 B2
                                 1                                                                     2
            NEUTRAL ANTAGONSTS AND USE                                      For example, the withdrawal of morphine, heroin, or other
           THEREOF IN TREATING DRUGABUSE                                 opioid agonists with Similar durations of action from an
                                                                         individual dependent upon the opioid gives rise to
                   RELATED APPLICATION                                   lacrimation, rhinorrhea, yawning, and Sweating 8 to 12
     This application is a continuation of U.S. application Ser.    5    hours after the last dose of the opioid. As withdrawal
   No. 09/809,637, filed on Mar. 15, 2001, now abandoned                 progresses, the individual will be Subject to dilated pupils,
   which claims the benefit of U.S. Provisional Application No.          anorexia, gooseflesh, restlessness, irritability, and tremor. At
   60/189,372 filed on Mar. 15, 2000. The entire teachings of            the peak intensity of withdrawal, which is 48 to 72 hours for
   the above applications are incorporated herein by reference.          morphine and heroin, the individual Suffers from increasing
                                                                         irritability, insomnia, marked anorexia, Violent yawning,
                   GOVERNMENT SUPPORT                                    Severe Sneezing, lacrimation, coryza, Weakness, depression,
     The invention is made with government Support under                 increased blood pressure and heart rate, nausea, vomiting,
   Grant Number DAO4166, awarded by the National Institutes              intestinal Spasm, and diarrhea. The individual commonly
   of Health. The government has certain rights in the inven             experiences chills alternating with hot flushes and Sweating,
   tion.                                                            15   as well as abdominal cramps, muscle Spasms and kicking
                                                                         movements, and pains in the bones and muscles of the back
            BACKGROUND OF THE INVENTION                                  and extremities, and exhibits leukocytosis and an exagger
                                                                         ated respiratory response to carbon dioxide. Typically the
     Endogenous opiate receptors were discovered in the                  individual does not eat or drink which, when combined with
   1970s, and have been intensely studied in seeking the                 the vomiting, Sweating, and diarrhea, results in weight loSS,
   mechanisms by which particular drugs lead to addiction.               dehydration, and ketosis. The withdrawal Symptoms from
   However, Such mechanisms have remained elusive. See, for              morphine and heroin usually disappear in 7 to 10 days, but
   example, J. Neurosci., 12(7): 2349-2450 (1992).                       the drug dependent individual Suffers greatly during the
      A number of different opioid receptor types have been              withdrawal period.
   identified. Known receptor types include, for example, the       25     Alternatively, if an opioid antagonistic drug is adminis
   mu u (MOR), delta 8 (DOR), and K. kappa receptors.                    tered to the individual, Such as naloxone or naltrexone,
   Narcotic analgesics act at the opioid it receptor to produce          withdrawal symptoms develop within a few minutes after
   analgesia. The u receptor mediates analgesia, respiratory             parenteral administration and reach peak intensity within 30
   depression, and inhibition of gastrointestinal transit. AS            minutes, with a more severe withdrawal than from with
   Such, narcotic analgesics act at the u receptor to produce            holding the opioid. For example, naloxone is the current
   analgesia. However, continued use of narcotic analgesics              treatment of choice in cases of overdose. It is immediately
   typically leads to habit or addiction, and use of one leads to        effective but is encumbered by intense withdrawal syn
   cross-tolerance/dependence for the others. Despite their              drome. Naltrexone can be used, for example, in maintenance
   therapeutic uses, undesirable side effects Such as physical           therapy, but is quite aversive, which impedes wide accep
   dependence and drug craving can develop.                         35   tance and efficacy. Since addiction to cocaine and alcohol
      Opiates, are a class of centrally acting compounds and are         have been reported to also be mediated by Specific opioid
   frequently used agents for pain control. Opiates are narcotic         Sensitive brain cell networks (See, Gardner et al., Substance
   agonistic analgesics and are drugs derived from opium, Such           Abuse 2" Ed., pp. 70-99 (1992)) the use of opioid antago
   as morphine, codeine, and many Synthetic congeners of                 nists can be Suitable for use in the treatment of alcohol and
   morphine, with morphine being the most widely used               40   cocaine dependency. Thus, the opioid receptors can play a
   derivative. Opioids are natural; and Synthetic drugs with             role in the dependency of multiple drug Substances.
   morphine-like actions and include the opiates. Opioids are               The use of opioid analgesics for the treatment of pain and
   narcotic agonistic analgesics which produce drug depen                during and/or after anesthesia can also lead to unwanted Side
   dence of the morphine type and are Subject to control under           effects, for example, respiratory depression. It is frequently
   federal narcoticS law because of their addicting properties.     45   necessary to titrate back or adjust the degree of analgesic/
   The chemical classes of opioids with morphine-like activity           anesthesia in an individual receiving opioid pain
   are the purified alkaloids of opium consisting of phenan              management, for example, undergoing or recovering from a
   threnes and benzylisoquinolines, Semi-Synthetic derivatives           Surgical procedure, due to complications associated with too
   of morphine, phenylpiperidine derivatives, morphinan                  high of a dose. The use of naltrexone and naloxone present
   derivatives, benzomorphan derivatives, diphenyl-heptane          50   undesirable Side effects Such as exacerbation respiratory
   derivatives, and propionanilide derivatives.                          depression when used to titrate back. Further, use of opioid
      Physical dependence or drug addiction to narcotic drugs,           analgesics for chronic pain can often be associated with
   for example, opioids, has been traditionally treated by drug          constipation which can be a significant and limiting prob
   withdrawal through administering an opioid antagonistic               lem. There is currently no known treatment Strategy to
   drug Such as naltrexone or naloxone, withholding the opioid      55   reduce the constipating effects of the opioid analgesics
   from the drug-dependent individual, gradually decreasing              without blocking the analgesic effect and/or causing addi
   the amount of opioid taken by the individual over time, or            tional side effects (e.g., diarrhea and hyperalgesia).
   Substituting another drug, Such as methadone,                            Therefore, a need exists for agents which can be used in
   buprenorphine, or methadyl acetate, for the opioid to ame             the treatment of drug dependency or in pain management to,
   liorate the physical need for the opioid. When an opioid is      60   for example, modify the anesthesia/analgesia of an opioid
   discontinued, withdrawal Symptoms appear, the character               drug or its unwanted side effects but which have reduced
   and Severity of which are dependent upon Such factors as the          aversive properties and can result in reduced withdrawal
   particular opioid being withdrawn, the daily dose of the              Symptoms.
   opioid that is being withdrawn, the duration of use of the                      SUMMARY OF THE INVENTION
   opioid, and the health of the drug dependent individual. The     65
   pain associated with withdrawal Symptoms can be quite                   The invention relates to the use of naltrexone and nalox
   SCWCC.                                                                one analogs, which are neutral antagonists at the u opioid
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 12 of 29 PageID #: 21730


                                                        US 6,713,488 B2
                                  3                                                                      4
   receptor, for the treatment of drug dependency in a drug                peptide CTAP was identified as a neutral antagonist in these
   dependent individual. Surprisingly, it has been found that              assays, and was shown to elicit significantly less withdrawal
   administration of a therapeutically effective amount of the             than naloxone in drug-dependent mice (J. Pharm. Exper.
   naloxone or naltrexone analogs described herein for the                 Ther, 277: 484-190 (1996)).
   treatment of a drug dependency, can result in reduction of         5      Accordingly, the present invention relates to a method for
   undesirable Side effects resulting from current treatments              the treatment of drug-dependency in a drug-dependent indi
   using naloxone and naltrexone. For example, the treatment               vidual in need thereof comprising administering to the
   described herein can result in a reduction in the withdrawal
   Symptoms and aversion encountered in the use of naloxone                individual a therapeutically effect amount of a naloxone or
   and naltrexone in the treatment of drug dependency. In                  naltrexone analog or a pharmaceutically acceptable Salt
   addition, the naltrexone and naloxone analogs of the inven              thereof which is a neutral antagonist at the u opioid receptor.
   tion can be used for modulating the treatment of pain or                   The naltrexone analogs Suitable for use in the invention
   anesthesia in an individual in need thereof by decreasing or            can be represented by Formula I and include the pharma
   reversing the effects of high doses of the narcotic analgesic,          ceutically acceptable Salts thereof.
   for example, respiratory depression, or decreasing Side            15
   effects Such as constipation without blocking analgesia.
      U.S. Pat. No. 6,007,986, teaches that the u opioid receptor
   has a constitutively active State that may be represented as
   ti. The u opioid receptor is the main mediator of narcotic
   analgesia and addiction and can be classified as a G protein
   coupled receptor (GPCR). This feature of basal level sig
   nalling activity is emerging as a recognized feature of a
   number of GPCRS, for example, the dopamine receptors,
   D1, D2 and D3, the adenosine receptor, the B2-adrenergic
   receptor, the serotonin receptor (5HT2A) and the 8-opioid          25
   receptors. In the naive state (no prior drug exposure), the
   activity of the u State is minimal, and most receptors are              wherein:
   drug Sensitive. Recent findings, indicate that the u opioid               R" is cycloalkyl(alkyl), for example, C-C (cycloalkyl)
   receptor differs in its characteristics Significantly between                alkyl, for example, C-C (cycloalkyl)methyl Such as
   drug-naive and drug-tolerant/dependent States, with the con                  (cyclopropy)lmethyl or Cs-C-(cycloalkenyl)alkyl,
   Stitutive or Spontaneous activity of the u opioid receptor                R is H, OH or esters thereof, such as -OAc(OC
   being enhanced in the tolerant/dependent State.                            (alkyl)), for example O(C-C alkyl);
      In general, compounds which exhibit antagonistic behav                 R is H, alkyl for example, C-C alkyl, or (alkyl)C=O
   ior at a particular GPCR having basal Signalling activity, for               for example, ((C-C)alkyl)-C=O;
   example the u opioid receptor, can be categorized as either        35     R" and R are independently H, halogen (F, Cl, Br or I),
   neutral antagonists or inverse agonists based on the effect                  alkyl, for example C-C alkyl, alkoxy, Such as C-C,
   which they exhibit upon the basal Signalling activity of the                 alkoxy, nitro, amino, cyano, carboxyl or acyl which
   particular receptor for which they are a ligand following                    may be Substituted for one or more hydrogens on the
   interaction. “Neutral antagonists' are agents which block the                ring,
   affects of an agonist at the target receptor but do not            40     X is -OR,-NR7RR, -NCOR', -NO, -SR'
   Significantly effect the level of Spontaneous receptor activity.          wherein,
   “Inverse agonists' are agents which block the effects of an                 R and R'' are independently selected from H, alkyl,
   agonist at the target receptor and also Suppress Spontaneous                   Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
   receptor activity.                                                             aryl, Substituted aryl, acyl, for example C-C acyl
      Individual opioid drugs fall on a sliding Scale of efficacy     45          Such as -C(O)-C-C alkyl or aroyl,
   from full agonist to full inverse agonists. It appears possible              R", R and R' are independently selected from
   that these pharmacological properties of a drug can change,                    hydrogen, alkyl, Substituted alkyl, cycloalkyl, Sub
   however, during long-term Stimulation. For example, it has                     Stituted cycloalkyl, aryl, or Substituted aryl,
   been determined that the prototypical opioid antagonists                     R and R' can be present or absent and are indepen
   naloxone and naltrexone, which display neutral antagonistic        50          dently Selected from hydrogen, alkyl, Substituted
   behavior at an untreated it opioid receptor, behave as inverse                 alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or
   agonist at drug-pretreated, for example, morphine pre                          substituted aryl
   treated receptors. This Switch in pharmacological effects at            and phamaceutically acceptable Salts thereof.
   untreated or drug-pretreated receptors can be at least in part            In a particular embodiment, the naltrexone analog is:
   responsible for the Severe withdrawal Symptoms experi              55
   enced by drug-dependent individual upon administration of
   naloxone and naltrexone. Thus, withdrawal Symptoms can
   be a result of not only the blocking of agonist effects, but the
   inverse agonist effect of naloxone and naltrexone on the
   Spontaneously active u opioid receptor.                            60
      Neutral antagonists against receptors exhibiting Sponta
   neous activity can be determined with the use of in vitro
   assays described by U.S. Pat. No. 5,882,944, issued Mar. 16,
   1999, and U.S. Pat. No. 6,007,986, issued Dec. 28, 1999, to
   Sadée and pending application Ser. No. 09/200,012 now              65
   U.S. Pat. No. 6,270,979 the entire contents of all of which                                       6C-Naltrexol
   are hereby incorporated by reference. For example, the
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 13 of 29 PageID #: 21731


                                                        US 6,713,488 B2
               -continued

                                      su-A                       5




                                          w
                   HO            o             'H                1O
                                              OH
                             6B-Naltrexol

                                                                      wherein:
                                                                 15
                                                                        R" is alkenyl, for example a C-C alkenyl, Such as allyl
                                                                        R’ is H, OH or esters thereof, such as -OAc(OC
                                                                          (alkyl)), for example O(C-C alkyl);
                                                                 20 R is H, alkyl for example, C-C alkyl, or (alkyl)C=O
                                                                          for example, ((C-C)alkyl)-C=O;
                                                                        R" and R are independently H, halogen (F, Cl, Br or I),
                                                                          alkyl, for example C-C alkyl, alkoxy, Such as C-C,
                                                                 25       alkoxy, nitro, amino, cyano, carboxyl or acyl which
                                                                          may be Substituted for one or more hydrogens on the
                                                                          ring,
                                                                        X is -OR,-NR7RR, -NCOR', -NO, -SR';
                                                                 30     wherein,
                                                                          R and R' are independently selected from H, alkyl,
                                                                             Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                             aryl, Substituted aryl, acyl, for example C-C acyl
                                                                             Such as -C(O)-C-C alkyl or aroyl,
                 HO                       NHCOCH                 35       R", R and R' are independently selected from
                            6B-Naltrexamide                                 hydrogen, alkyl, Substituted alkyl, cycloalkyl, Sub
                                                                            Stituted cycloalkyl, aryl, or Substituted aryl,
                                                                          R” and R' can be absent or present and are indepen
                                      NsuA                       40         dently Selected from hydrogen, alkyl, Substituted
                                                                             alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or
                                                                             substituted aryl
                                                                      and phamaceutically acceptable Salts thereof.
                                                                 45
                                      w
                                          w    '.NH
                                                                        In a particular embodiment, the naloxone analog is
                                  w
                  HO            O                   2
                            6C-Naltrexamine
                                                                 50




                                                                 55
                                                                                                6C-Naloxol
                                                                                                     N        N

                                                                 60
                             6B-Naltrexamine


   and the pharmaceutically acceptable Salts thereof.
                                                                 65
     The naloxone analog suitable for use in the method of the                                  6B-Naloxol
   invention can be represented by Formula I:
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 14 of 29 PageID #: 21732


                                                        US 6,713,488 B2
                                                                                                          8
                -continued                                                 and instructional materials associated with the dose. The kit
                                                                           is useful in the treatment of all drug dependent individuals
                                                                           Such as those in long-term therapy to prevent relapse,
                                                                           individuals undergoing drug overdose treatment, individuals
                                                                           undergoing active withdrawal treatment and infants born to
                                                                           drug addicted mothers.
                                                                              Therefore, agents which can be used in the treatment of
                                                                           drug dependency and in pain management but which have
                                                                           reduced aversive properties and can result in reduced with
                             6C-Naloxamine
                                                                           drawal Symptoms are provided by the present invention.
                                    N                                      Further, the agents described herein can be useful in a pain
                                                                           management regimen to modify the anesthesia/analgesia of
                                                                           an opioid drug or its undesirable Side effects. In addition, the
                                                                           naltrexone and naloxone analogs described herein can be
                                                                      15   Suitable for use in the treatment of eating disorders.
                                                                                  BRIEF DESCRIPTION OF THE DRAWINGS
                                                                             FIG. 1 is a graph showing results of the indicated opioid
                                                                           antagonists on the S-GTPYS binding to HEK-MOR cell
                                                                           membranes to determine the intrinsic antagonist activity.
                                                                           Mean+SD, *, * * versus % changes of basal done with
                                                                           mock-transfected cells. P-0.05, P-0.01, respectively, n=6,
                                                                           ANOVA with Dunnett post test.
                                                                              FIG. 2 is a graph showing the results of the indicated
                                                                      25   opioid antagonists on cAMP levels in intact HEK-MOR
                                                                           cells in order to determine which antagonists are neutral
                                                                           antagonists. The effects of inverse agonists are expected to
                                                                           be opposite to that observed in the S-GTPYS binding to
                                                                           HEK-MOR cell membranes (FIG. 1). Mean+SD, *, **
                          6C-Naloxamide                                    verSuS 76 changes of basal done with mock-transfected cells.
                                  N                                        P-0.05, P-0.01, respectively, n=6, ANOVA with Dunnett
                                                                           post test.
                                                                             FIG. 3 is a graph of dose-response curves for naloxone,
                                                                           maltrexone and 6f-naltrexol for inhibiting 100 nM
                                                                      35
                                                                           morphine-activated S-GTPYS binding in HEK-MOR cell
                                                                           membranes. MeantSD, n=3.
                                                                             FIG. 4 is a graph showing the effects of antagonists (10
                                          NHCOCH                           mg/kg i.p.) on withdrawal jumping in an acute mouse model
                                                                      40
                                                                           of morphine dependence.
                          6B-Naloxamide
                                                                             FIG. 5 is a graph of dose-response curves for naltrexone,
                                                                           naloxone, and 6B-naltrexol given i.p. for eliciting with
   and pharmaceutically acceptable Salts thereof.                          drawal jumping in a chronic mouse model of morphine
      In one embodiment, the drug-dependent individual is in               dependence (morphine pellet implantation). Meani-SEM,
   long-term therapy to prevent relapse to drug use. In another       45
                                                                           n=10-15.
   embodiment, the drug-dependent individual is undergoing                   FIG. 6 is a graph showing the effect of antagonists (10
   active withdrawal treatment. In yet another embodiment, the             mg/kg i.p.) in Suppressing morphine (20 nmole i.c.V.)
   drug-dependent individual is undergoing acute treatment for             induced antinociception (tail flick assay). MeaniSEM,
   a drug overdose. In a further embodiment, the drug                      n=10-15.
   dependent individual is an infant born to a drug-addicted
   mother. In another embodiment, the individual is being             50     FIG. 7 is a dose-response curves for naltrexone, naloxone,
   administered opiate drugs for the treatment of pain as part of          and 6?-naltrexol given i.p. for antagonism of morphine (20
   an anesthetic regimen.                                                  nmole i.c.V.). MeaniSEM, n=10-15.
     The invention further relates to a method for the treatment              The foregoing and other objects, features and advantages
   of drug-dependency in a drug-dependent individual in need               of the invention will be apparent from the following more
   thereof comprising administering to the individual a thera         55   particular description of preferred embodiments of the
   peutically effective amount of a Sustained release composi              invention, and as illustrated in the accompanying drawings.
   tion comprising a biocompatible polymer and an effective                             DETAILED DESCRIPTION OF THE
   amount of a naloxone or naltrexone analog or the pharma                                      INVENTION
   ceutically acceptable Salts thereof which is neutral antago
   nist at the u opioid receptor. Use of a Sustained release          60     A description of preferred embodiments of the invention
   composition, as described herein, can be particularly desir             follows.
   able when the drug-dependent individual is under long-term                 The present invention relates to a method for the treat
   therapy to prevent relapse to the drug of abuse.                        ment of drug-dependency in a drug-dependent individual in
      The invention also relates to a kit, useful for treating drug        need thereof comprising administering to the individual a
   dependency in a drug-dependent individual comprising a             65   therapeutically effect amount of a naloxone or naltrexone
   therapeutically effective dose of a naloxone or naltrexone              analog or a pharmaceutically acceptable Salt thereof which
   analog, which is a neutral antagonist at the u opioid receptor,         is a neutral antagonist at the u opioid receptor.
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 15 of 29 PageID #: 21733


                                                      US 6,713,488 B2
                                                                                                      10
      The naltrexone analogs Suitable for use in the invention                      -continued
   can be represented by Formula I and includes the pharma
   ceutically acceptable Salts thereof.




                                                                                    HO
                                                                                                  O          H
                                                                                                                 'NHCOCH,
                                                                                             6C-Naltrexamide


                                                                   15
   wherein:
     R" is (cycloalkyl)alkyl, for example, C-C (cycloalkyl)
       alkyl, for example, C-C (cycloalkyl)methyl Such as
       (cyclopropyl)methyl or (cycloalkenyl)alkyl, for
       example, C-C (cycloalkenyl)alkyl,
     R is H, OH or esters thereof, such as-OAc(OC alkyl),
       for example O(C-C)alkyl,                                                       HO                         NHCOCH
     R is H, alkyl for example, C-C alkyl, or (alkyl)C=O                                         6B-Naltrexamide
       for example, ((C-C)alkyl)-C=O;
     R" and Rare independently H, halogen (F, Cl, Br or I),        25
       alkyl, for example C-C alkyl, alkoxy, Such as C-C,
       alkoxy, nitro, amino, cyano, carboxyl or acyl which can
       be Substituted for any hydrogen on the ring;
     X is -OR, -NRRR, -NCOR', -NO, -SR';
     wherein,
       R and R' are independently selected from H, alkyl,
          Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
          aryl, Substituted aryl, acyl, for example C-C acyl
          Such as -C(O)-C-C alkyl or aroyl,
       R7, R and R'' are independently selected from               35
          hydrogen, alkyl, Substituted alkyl, cycloalkyl, Sub
          Stituted cycloalkyl, aryl, or Substituted aryl,
       R” and R' can be absent or present are independently
          Selected from hydrogen, alkyl, Substituted alkyl,
          cycloalkyl, Substituted cycloalkyl, aryl, or Substi      40
          tuted aryl
   and phamaceutically acceptable Salts thereof.
     In a particular embodiment, the naltrexone analog is:
                                                                   45
                                                                                                  6B-Naltrexamine


                                                                   50
                                                                        and the pharmaceutically acceptable Salts thereof.

                                                                          The naloxone analog suitable for use in the method of the
                                                                        invention can be represented by Formula I:
                                                                   55




                                                                   60




                                                                   65
                            6B-Naltrexol
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 16 of 29 PageID #: 21734


                                                      US 6,713,488 B2
                               11
   wherein:                                                                         -continued

     R" is alkenyl, for example a C-C alkenyl, Such as allyl
     R is H, OH or esters thereof, such as-OAc(OC alkyl),
       for example O(C-C)alkyl,
     R is H, alkyl for example, C-C alkyl, or (alkyl)C=O
       for example, ((C-C)alkyl)-C=O;
     R" and Rare independently H, halogen (F, Cl, Br or I),
       alkyl, for example C-C alkyl, alkoxy, Such as C-C,
       alkoxy, nitro, amino, cyano, carboxyl or acyl which can
       be Substituted for one or more hydrogens on the ring;
                                                                   15
     X is -OR), -NR7RR, -NCOR), -NO-SR''
     wherein,
       R and R' are independently selected from H, alkyl,
          Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
          aryl, Substituted aryl, acyl, for example C-C acyl                                  6C-Naloxamide
          Such as -C(O)-C-C alkyl or aroyl,                                                           N
                                                                                                               N
       R7, R and R'' are independently selected from
          hydrogen, alkyl, Substituted alkyl, cycloalkyl, Sub
          Stituted cycloalkyl, aryl, or Substituted aryl           25
       R” and R' can be absent or present are independently
          Selected from hydrogen, alkyl, Substituted alkyl,
          cycloalkyl, Substituted cycloalkyl, aryl, or Substi                          HO
          tuted aryl                                                                                          NHCOCH
                                                                                              6B-Naloxamide
   and phamaceutically acceptable Salts thereof.
                                                                        and pharmaceutically acceptable Salts thereof.
                                                                           Pharmaceutically acceptable Salts of the naltrexone and
     In a particular embodiment, the naloxone analog is            35   naloxone analogs, which are neutral antagonists at the ul
                                                                        opioid receptor, include Salts derived from an appropriate
                                                                        base, Such as an alkali metal (for example, Sodium,
                                                                        potassium), an alkaline earth metal (for example, calcium,
                                                                        magnesium), ammonium and NX (wherein X is C-C,
                                                                   40   alkyl). Pharmaceutically acceptable Salts of an amino group
                                                                        include Salts of organic carboxylic acids Such as acetic,
                                                                        lactic, tartaric, malic, lactobionic, fumaric, and Succinic
                                                                        acids, organic Sulfonic acids Such as methaneSulfonic,
                                                                        ethane Sulfonic, ise thionic, benzene Sulfonic and
                                                                   45   p-toluenesulfonic acids, and inorganic acids Such as
                                                                        hydrochloric, hydrobromic, Sulfuric, phosphoric and Sul
                                                                        famic acids. Pharmaceutically acceptable Salts of a com
                                                                        pound having a hydroxy group consist of the anion of Said
                                                                        compound in combination with a Suitable cation Such as
                                                                   50   Na', NH, or NX (wherein X is for example a C alkyl
                                                                        group).
                                                                          In enantiomeric forms, compounds of the invention
                                                                        include individual enantiomers of the compounds of formula
                                                                        (I) in Single species form Substantially free of the corre
                                                                   55   sponding enantiomer, as well as in admixture (in mixtures of
                                                                        enantiomeric pairs and/or in mixtures of multiple enanti
                                                                        omer species). In the compounds described herein the terms
                                                                        C. and B anomers are used to distinguish the orientation of
                                                                        the subsitutuents at the chiral carbon marked with an (*).
                                                                   60     The drug-dependent individual can be dependent upon
                                                                        one or multiple drug Substances. Drug Substances which can
                                                                        cause a dependency treatable by the method described
                                                                        herein include, but are not limited to, opioids, alcohol,
                                                                        Stimulants, depressants, nicotine, designer drugs, Sedative
                                                                   65   hypnotics, hallucinogens, angiolytics and inhalants.
                           6C-Naloxamine                                  Extension of the use of the naloxone and naltrexone
                                                                        analogs, which are neutral antagonists at it opioid receptor,
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 17 of 29 PageID #: 21735


                                                      US 6,713,488 B2
                               13                                                                    14
   for treatment of dependency on the classes of drug Sub               Single dose of morphine related to the presence of the basally
   stances Set forth above is predicated on Studies which report        active it opioid receptor. Therefore, this type of inverse
   that addiction to cocaine and alcohol can involve opioid             agonist is not Suitable for modifying Side effects of opioid
   Sensitive brain cell networks (See, Gardner et al., Substance        drugs (e.g., respiratory depression). However, the naloxone
  Abuse 2" Ed., pp. 70-99 (1992)). As such, the use of opioid           and naltrexone analogs described herein which are neutral
   antagonists can be Suitable for use in the treatment of drugs        antagonist can be used to diminish Side effects without
   other than opioids Such as the commonly abused drugs,                causing adverse effects themselves. Alternatively, the nalox
   alcohol and cocaine. In addition, the naltrexone and nalox           one and naltrexone analogs described herein can be useful in
   one analogs of the present invention can be useful in the            diminishing constipation which is a common and limiting
   treatment of eating disorders.                                       Side effect frequently resulting from administration of an
      Opiates, are a class of centrally acting compounds and are        opioid agonist in pain management. That is the opioid
   frequently used agents for pain control. Opiates are narcotic        interacts with the opioid receptors in the gastrointestinal
   agonistic analgesics and are drugs derived from opium, Such          tract (peripheral action). Further, it is noted that in the
   as morphine, codeine, and many Synthetic congeners of                chronic mouse model of morphine dependence used to
   morphine, with morphine being the most widely used              15   observe withdrawal jumping, no diarrhea was observed with
   derivative. Opioids are natural and Synthetic drugs with             administration of neutral antagonist. Therefore neutral
   morphine-like actions and include the opiates. Opioids are           antagonists that remain either partially or completely in the
   narcotic agonistic analgesics which produce drug depen               peripheral circulation, as opposed to the CNS (central ner
   dence of the morphine type and are Subject to control under          vous System) circulation, can be Suitable in reducing con
   federal narcotics law because of their addicting properties.         Stipation without causing diarrhea (as, for example, nalox
      The chemical classes of opioids with morphine-like activ          one can be expected to do).
   ity are the purified alkaloids of opium consisting of phenan           In a further embodiment, the naltrexone and naloxone
   threnes and benzylisoquinolines, Semi-Synthetic derivatives          analogs are Suitable for use in the treatment of eating
   of morphine, phenylpiperidine derivatives, morphinan                 disorders.
   derivatives, benzomorphan derivatives, diphenyl-heptane         25      AS used herein, a “therapeutically effective amount'
   derivatives, and propionanilide derivatives. The principal           refers to the amount of the naltrexone or naloxone analog or
   phenanthrenes are morphine, codeine, and thebaine. The               Sustained release composition having the naltrexone or
   principal benzoisoquinolines are papaverine, a Smooth                naloxone analog incorporated therein, needed to elicit the
   muscle relaxant, and noScapine. Semi-Synthetic derivatives           desired biological response following administration. The
   of morphine include diacetylmorphine (heroin),                       desired biological response herein can be Sufficient blockade
   hydro morphone, oxy morphone, hydrocodone,                           of the u opioid receptor resulting in alleviation of drug
   apomorphine, etorpine, and oxycodone. Phenylpiperidine               dependency, modulation of pain management or reducing
   derivatives include meperidine and its congenerS diphe               adverse effects associated With current pain management
   noxylate and loperamide, alphaprodine, anilleridine hydro            Such as diarrhea and constipation.
   chloride or phosphate, and piminodine eSylate. Morphinan        35      Therapeutically effective amounts of the neutral antago
   derivatives include levorphanol. The diphenyl-heptane                nists can be formulated as pharmaceutically Suitable com
   derivatives include methadone and its congeners, and pro             positions (e.g. in the form of pharmaceutically acceptable
   poxyphene. Propionanilide derivatives include fentanyl cit           Salts). In the treatment of an overdose, for example, the
   rate and its congenerS Sufenil citrate and alfenatil hydro           amount of naltrexone or naloxone analog needed can be
   chloride.                                                       40   comparable to that currently used for naloxone, in treating
     Stimulants include, but are not limited to, amphetamines,          individuals who have taken a narcotic overdose. In the
   cocaine, phenmetrazine, methylphenidate.                             treatment of an individual in long-term or maintenance
      Depressants include, but are not limited to,                      therapy, the amounts effective in preventing drug use
   nonbarbiturates, methaqualone, barbiturates, diazepam,               resumption are Similar to those prescribed for naltrexone. A
   flurazepam, phencyclidine and fluoxetine.                       45   therapeutically effective amount can be in the range of about
      Designer drugs include, for example, ecstasy                      1 microgram (ug) to about 100 milligrams (mg) per kilo
   (methylenedioxymethamphetamine (MDMA)) which has                     gram of body weight of the recipient per day. For example,
   both Stimulant and hallucinogenic effects.                           from about 5 lug to about 75 mg per kilogram body weight
      “Drug-dependent individual” as that term is used herein           per day, Such as from about 10 ug to about 50 mg per
   refers to the recipient of the treatment described herein and   50   kilogram body weight per day. The administered dose can be
   includes individuals in long-term therapy to prevent relapse         present as two or more Sub-doses administered at appropri
   to drug use, individuals who have taken an overdose of a             ate intervals throughout the day. Alternatively, if the condi
   drug and are in need of acute treatment, individuals who are         tion of the drug-dependent individual requires the doses can
   undergoing active withdrawal treatment from addiction and            be administered as continuous infusion.
   infants born to drug addicted mothers. Mammalian and            55      The composition of this invention can be administered in
   non-mammalian patients are included. In a Specific                   Vivo, for example, to a drug dependent individual, for
   embodiment, the patient is a mammal, Such as a human,                example, a human, or an animal. In a preferred embodiment,
   canine, murine, feline, bovine, Ovine, Swine or caprine. In a        the naltrexone and naloxone analogs, which are neutral
   preferred embodiment, the patient is a human. It is under            antagonists at the u opioid receptor act centrally when
   stood that the drug-dependent individual can be dependent       60   administered peripherally. Alternatively, a neutral antagonist
   upon multiple drugs.                                                 can also be administered peripherally and in large part
     In an alternative embodiment, the naltrexone and nalox             retained in the peripheral circulation (e.g., in the gastrointes
   one antagonists are Suitable for use in the management of            tinal tract). Such neutral antagonists can have potent periph
   pain, for example, short term pain following Surgery or              eral activity but lesser central activity. Administration can be
   injury, during and after anesthesia, or during long-term pain   65   accomplished orally, or parenterally Such as by injection,
   treatment. A shown in FIG. 4, naloxone and naltrexone have           implantation (e.g., Subcutaneously, intramuscularly,
   aversive effects (withdrawal jumping) in mice even after a           intraperitoneally, intracranially, and intradermally), admin
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 18 of 29 PageID #: 21736


                                                         US 6,713,488 B2
                          15                                                                              16
   istration to mucosal membranes (e.g., intranasally,                      patible with Such alkyl and which retain the neutral antago
   intravaginally, intrapulmonary, buccally or by means of a                nistic behavior of the naloxone and naltrexone analogs.
   Suppository), or in situ delivery (e.g., by enema or aerosol             Examples of Substituents for Substituted alkyl groups
   spray) to provide the desired dosage of naltrexone or nalox              include halogen, for example, fluoro, chloro, bromo and
   one analog to treat drug dependency or modulate undesir                  iodo, amino, amido, C-C alkyl, C-C alkoxy, nitro,
   able effects of narcotic analgesic (Such as respiratory depres           hydroxy; (iii) Saturated alkyl groups as well as unsaturated
   Sion and constipation) in the treatment of pain or anesthesia,           alkyl groups, the later including groupS. Such as alkenyl
   in an individual in need thereof.                                        Substituted alkyl, for example, allyl, methallyl, propallyl,
      “Neutral antagonists' as that term is used herein, refers to          butenylmethyl, etc. Alkynyl Substituted alkyl groups and
   agents which block the affects of an agonist at the target               any other alkyl groups containing unsaturation which is
   receptor, but do not significantly effect the level of Sponta            compatible with Such alkyl groups and which retains the
   neous activity present at the target receptor. “Neutral antago           neutral antagonistic behavior of the naloxone and naltrexone
   nist at the u opioid receptor' as that term is used herein refers        analogs; and (iv) alkyl groups including linking or bridge
   to an agent which can bind Selectively to the resting,                   moieties, for example, heteroatoms Such as nitrogen,
   drug-Sensitive it opioid receptor State, to the constitutively      15   oxygen, Sulfur.
   active it opioid receptor State, or to both, blocking the effects           AS used herein, in reference to the present invention, the
   of an agonist at the receptor, but not significantly effecting           term aryl is intended to be broadly construed as referring to
   the level of Spontaneous activity present at the receptor.               carbocyclic, for example, phenyl, naphthyl as well as het
      "Partial inverse agonists', as that term is used herein               erocyclic aromatic groups, for example pyridyl, thienyl,
   refers to agents which block the affects of an agonists at the           furanyl and encompassing unsubstituted as well as Substi
   target receptor and also Suppress Spontaneous receptor activ             tuted aryl groups, wherein the Substituents of the Substituted
   ity at the target receptor.                                              aryl groups can include any Substituents which retain the
      “Full inverse agonist” as that term is used herein refers to          neutral antagonistic behavior of the naloxone and naltrexone
   an agent that Suppresses completely Spontaneous receptor                 analogs. Examples of Substituents for Substituted aryl groups
   activity at the target receptor and will also block the affects     25   include one or more of halogen, for example, fluoro, chloro,
   of an agonist at the target receptor.                                    bromo and iodo, amino, amido, C-C alkyl, C-C alkoxy,
      “Partial agonists” as that term is used herein refers to              nitro, trifluoromethyl, hydroxy, hydroxyalkyl containing a
   agents that induce an agonist response, for example, receptor            C-C alkyl moiety, etc.
   activation, but even at maximal dosages result in only partial              The invention also relates to a kit, useful for treating drug
   activation of the resting, drug-Sensitive target receptor.               dependency in a drug-dependent individual comprising a
      The naloxone and naltrexone analogs represented by the                therapeutically effective dose of a naloxone or naltrexone
   Structures presented herein can be Synthesized using Stan                analog, which is a neutral antagonist at the u opioid receptor,
   dard synthetic procedures Such as those described in March               and instructional materials associated with the dose. The kit
  J., Advanced Organic Chemistry, 3" Ed. (1985). Employing,                 is useful in the treatment of all drug dependent individuals
   for example, naltrexone or naloxone as the Starting material.       35   Such as those in long-term therapy to prevent relapse,
      Many of the analogs of naltrexone and naloxone which                  individuals undergoing drug overdose treatment, individuals
   possess neutral antagonist activity at the u opioid receptor,            undergoing active withdrawal treatment and infants born to
   for example, the analogs wherein the 6-keto functionality                drug addicted mothers.
   has been reduced to an -OH functionality are known                          For example, the kit can comprise a container containing
   compounds, and their Syntheses have been described, for             40   a Suitable neutral antagonist and, in addition, the kit can
   example, by Chatterjie et al., J. Med. Chem., 18, pp.                    include instructional materials containing directions (for
   490–492 (1975) and Jiang et al., J. Med Chem., 20, pp.                   example, dosage protocols) for the administration of the
   1100–1102 (1977). When modification of the naltrexone or                 pharmaceutically effective compositions described here
   naloxone at the 6-keto position results in an additional chiral          along with contraindications. Information on the withdrawal
   carbon in the analog, the B orientation at the newly formed         45   Syndrome activity of the particular neutral antagonist present
   chiral carbon is preferred over the C. orientation. This                 in the kit can also be included in the instructional materials.
   preference is based upon the slower conversion of the B                  While the instructional materials typically comprise written
   analogs back to naloxone or naltrexone. Further, if desired              or printed materials they are not limited to Such. Any
   conversion of the naltrexone or naloxone analog can be                   medium capable of Storing Such instructions and communi
   blocked by any Suitable inhibitory agent. For example, in the       50   cating them to an end user is contemplated by this invention.
   case of 6f- or 6C.-naloxol or naltrexol, conversion of the               Such media include, but are not limited to electronic Storage
   -OH at the 6 position back to the keto functionality of the              media (e.g., magnetic discs, tapes, cartridges, chips), optical
   naloxone or naltrexone can be inhibited with alcohol dehy                media (e.g., CD ROM), and the like. Such media may
   drogenase inhibitors, such as 4-methylpyrazole (Plapp, B.                include addresses to Internet Sites that provide Such instruc
   V., “Control of Alcohol Metabolism, pp. 311-322 in                  55   tional materials.
   Towards a Molecular Basis of Alcohol Use and Abuse, eds.                   AS used herein, the term “a” or “an” refers to one or more.
   Janssen et al., Birkhaeuser Verlag, 1994). Further, the                  Method for Sustained Release
   replacement of the 6-keto functionality with, for example, an              In another embodiment, the invention relates to a method
   amine or amide resulting in 6C.- and 6f-naltrexamine and                 for the treatment of drug-dependency in a drug-dependent
   naltrexamide is likely to undergo much slower, if any,              60   individual in need thereof comprising administering to the
   conversion to naltrexone.                                                individual a therapeutically effect amount of a Sustained
     AS used herein, in reference to the present invention, the             release composition comprising a biocompatible polymer;
   term “alkyl is intended to be broadly construed as encom                 and an effective amount of a naloxone or naltrexone analog
   passing: (i) alkyl groups of Straight-chain as well as                   or the pharmaceutically acceptable Salts thereof which is
   branched chain character; (ii) unsubstituted as well as Sub         65   neutral antagonist at the u opioid receptor.
   Stituted alkyl groups, wherein the Substitutents of Substituted             The term “Sustained release composition' as defined
   alkyl groups may include any Substituents which are com                  herein, can comprise a biocompatible polymer having incor
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 19 of 29 PageID #: 21737


                                                        US 6,713,488 B2
                                17                                                                     18
   porated therein at least one naloxone or naltrexone analog                “Biodegradable', as defined herein, means the composi
   which is a neutral antagonist at the u opioid receptor.                tion will degrade or erode in Vivo to form Smaller chemical
   Suitable biocompatible polymers, can be either biodegrad               Species. Degradation can result, for example, by enzymatic,
   able or non-biodegradable polymers or blends or copoly                 chemical and physical processes. Suitable biocompatible,
   mers thereof, as described herein. Use of a Sustained release          biodegradable polymers include, for example, poly
   composition, as described herein, can be particularly advan            (lactides), poly(glycolides), poly(lactide-co-glycolides),
   tageous when the drug-dependent individual is under long               poly(lactic acid)S, poly(glycolic acid)S, polycarbonates,
   term therapy to prevent relapse to the drug of abuse.                  polyesteramides, polyany drides, poly(amino acids),
     Typically, the Sustained release composition can contain             polyorthoesters, poly(dioxanone)S, poly(alkylene alkylate)S,
                                                                          copolymers or polyethylene glycol and polyorthoester, bio
  from about 0.01% (w/w) to about 50% (w/w) of the nalox                  degradable polyurethane, blends thereof, and copolymers
  one or naltrexone analog which is a neutral antagonist at the           thereof.
  All opioid receptor (dry weight of composition). The amount               Suitable biocompatible, non-biodegradable polymers
   of naloxone or naltrexone analog used will vary depending              include non-biodegradable polymerS Selected from the
   upon the condition of the patient, the desired effect of the           group consisting of polyacrylates, polymers of ethylene
   agent, for example, to treat active withdrawal or to prevent      15
                                                                          Vinyl acetates and other acyl Substituted cellulose acetates,
   relapse in long-term therapy, the planned release levels, and          non-degradable polyurethane S, poly Styrene S,
   the time span over which the agent will be released. A                 polyvinylchloride, polyvinyl flouride, poly(vinyl
   preferred range of agent loading is between about 0.1%                 imidazole), chlorosulphonate polyolefins, polyethylene
   (w/w) to about 30% (w/w) agent. A more preferred range of              oxide, blends thereof, and copolymers thereof.
   agent loading is between about 0.5% (w/w) to about 20%                   Acceptable molecular weights for polymers used in this
   (w/w) agent.                                                           invention can be determined by a perSon of ordinary skill in
      The Sustained release compositions of this invention can            the art taking into consideration factorS Such as the desired
   be formed into many shapes. Such as a film, a pellet, a rod,           polymer degradation rate, physical properties Such as
   a filament, a cylinder, a disc, a wafer or a microparticle. A          mechanical Strength, and rate of dissolution of polymer in
   microparticle is preferred. A "microparticle' as defined          25   Solvent. Typically, an acceptable range of molecular weight
   herein, comprises a polymer component having a diameter                is of about 2,000 Daltons to about 2,000,000 Daltons.
   of less than about one millimeter and having a naltrexone or             In a particular embodiment, the polymer is biodegradable
   naloxone analog which is a neutral antagonist at the u opioid          polymer or copolymer. In a more preferred embodiment, the
   receptor dispersed therein. A microparticle can have a                 polymer is a poly(lactide-co-glycolide)(hereinafter “PLG”).
   Spherical, non-spherical or irregular shape. Typically, the            The PLG can have a lactide:glycolide ratio, for example, of
   microparticle will be of a Size Suitable for injection. A              about 10:90, 25:75, 50:50, 75:25 or 90:10 and a molecular
   preferred size range for microparticles is from about one to           weight of about 5,000 Daltons to about 70,000 Daltons.
   about 180 microns in diameter.                                           It is understood that when the naltrexone or naloxone
     AS defined herein, a Sustained release of a naltrexone or            analog, which is a neutral antagonist at the u opioid receptor,
   naloxone analog of the present invention is a release of the      35   is incorporated into a biocompatible polymer for Sustained
   agent from a Sustained release composition. The release                release of the analog, the Sustained release composition can
   occurs over a period which is longer than that period during           include additional components which can Stabilize the ana
   which a therapeutically significant amount of the naloxone             log and/or modify the release profile of the naltrexone or
   or naltrexone analog, would be available following direct              naloxone analog from the Sustained release composition.
   administration of a Solution of the analog. The period of         40   That is, the naltrexone or naloxone analog of the Sustained
   Sustained release can be, for example, about one day, about            release composition can be Stabilized against loSS of potency
   two days, about Seven days, about ten days or more as                  and/or loSS of activity, all of which can occur during
   needed to attain the desired results. It is preferred that a           formation of the Sustained release composition having the
   Sustained release be a release of naloxone or naltrexone               naltrexone or naloxone analog dispersed therein, and/or
   analog, which is a neutral antagonist at the u opioid             45   prior to and during in Vivo release of the analog. In addition,
   receptors, which occurs over a period of greater than two              the period of release of the naltrexone or naloxone analog
   days. A Sustained release of a naltrexone or naloxone analog           can be prolonged.
   of the invention, from a Sustained release composition can                A Suitable excipient or a specific combination of excipi
   be a continuous or a discontinuous release, with relatively            ents can be employed in the Sustained release composition.
   constant or varying rates of release. The continuity of release   50   “Excipient', as that term is used herein, is any agent which
   and level of release can be affected by the type of polymer            binds or interacts in a covalent or non-covalent manner or is
   composition used (e.g., monomer ratios, molecular weight,              included with the naloxone or naltrexone analog in the
   and varying combinations of polymers), agent loading,                  Sustained release composition.
   and/or Selection of excipients to produce the desired effect.            Suitable excipients include, for example, carbohydrates,
     The polymers of the Sustained release composition               55   amino acids, fatty acids, Surfactants, and bulking agents, and
   described herein are biocompatible. Suitable biocompatible             are known to those skilled in the art. An acidic or a basic
   polymers, can be either biodegradable or non-biodegradable             excipient is also Suitable. The amount of excipient used is
   polymers or blends or copolymers thereof, as described                 based on ratio to the naltrexone or naloxone analog, on a
   herein.                                                                weight basis. For amino acids, fatty acids and carbohydrates,
      Suitable biocompatible polymers, can be either biode           60   Such as Sucrose, trehalose, lactose, mannitol, dextran and
   gradable or non-biodegradable polymers or blends or                    heparin, the ratio of carbohydrate to analog, is typically
   copolymers thereof, as described herein. A polymer is bio              between about 1:10 and about 20:1. For Surfactants the ratio
   compatible if the polymer and any degradation products of              of Surfactant to analog is typically between about 1:1000 and
   the polymer are non-toxic to the recipient and also possess            about 2:1. Bulking agents typically comprise inert materials.
   no significant deleterious or untoward effects on the recipi      65   Suitable bulking agents are known to those skilled in the art.
   ent's body, Such as an immunological reaction at the injec                The excipient can also be a metal cation component which
   tion Site.                                                             acts to modulate the release of the naltrexone or naloxone
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 20 of 29 PageID #: 21738


                                                        US 6,713,488 B2
                                19                                                                     20
   analog. A metal cation component used in modulating                    polymer Solvent is then removed by means known in the art,
   release typically comprises at least one type of multivalent           or the temperature of the polymer Suspension is reduced,
   metal cation. Examples of metal cation components Suitable             until a film or shape, with a consistent dry weight, is
   to modulate release include or contain, for example,                   obtained.
   Mg(OH), MgCO (such as 4MgCOMg(OH).5H2O),                                  A further example of a conventional microencapsulation
   MgSO, Zn(OAc), Mg(OAc), ZnCO (such as 3Zn(OH),                         process and microparticles produced thereby is disclosed in
   2ZnCO)ZnSO, ZnCl, MgCl, CaCO, Zn(CHO) and                              U.S. Pat. No. 3,737,337, incorporated by reference herein in
   Mg(CHsO4). A Suitable ratio of metal cation component                  its entirety, wherein a Solution of a wall or shell forming
   to polymer is between about 1:99 to about 1:2 by weight.               polymeric material in a Solvent is prepared. The Solvent is
   The optimum ratio depends upon the polymer and the metal               only partially miscible in water. A Solid or core material is
   cation component utilized. A polymer matrix containing a               dissolved or dispersed in the polymer-containing mixture
   dispersed metal cation component to modulate the release of            and, thereafter, the core material-containing mixture is dis
   a an agent from the polymer matrix is further described in             persed in an aqueous liquid that is immiscible in the organic
   U.S. Pat. No. 5,656,297 to Bernstein et al. the teachings of           Solvent in order to remove Solvent from the microparticles.
   which are incorporated herein by reference in their entirety.     15      Another example of a process in which Solvent is
      A number of methods are known by which Sustained                    removed from microparticles containing a Substance is dis
   release compositions (polymer/active agent matrices) can be            closed in U.S. Pat. No. 3,523,906, incorporated herein by
   formed. In many of these processes, the material to be                 reference in its entirety. In this process a material to be
   encapsulated is dispersed in a Solvent containing a wall               encapsulated is emulsified in a Solution of a polymeric
   forming material. At a Single Stage of the process, Solvent is         material in a Solvent that is immiscible in water and then the
   removed from the microparticles and thereafter the micro               emulsion is emulsified in an aqueous Solution containing a
   particle product is obtained.                                          hydrophilic colloid. Solvent removal from the micropar
      Methods for forming a composition for the Sustained                 ticles is then accomplished by evaporation and the product
   release of biologically active agent are described in U.S. Pat.        is obtained.
   No. 5,019,400, issued to Gombotz et al., and issued U.S. Pat.     25      In still another process as shown in U.S. Pat. No. 3,691,
   No. 5,922,253 issued to Herbert et al. the teachings of which          090, incorporated herein by reference in its entirety, organic
   are incorporated herein by reference in their entirety.                Solvent is evaporated from a dispersion of microparticles in
      In this method, a mixture comprising a biologically active          an aqueous medium, preferably under reduced pressure.
   agent, a biocompatible polymer and a polymer Solvent is                   Similarly, the disclosure of U.S. Pat. No. 3,891,570,
   processed to create droplets, wherein at least a significant           incorporated herein by reference in its entirety, shows a
   portion of the droplets contains polymer, polymer Solvent              method in which Solvent from a dispersion of microparticles
   and the active. These droplets are then frozen by a suitable           in a polyhydric alcohol medium is evaporated from the
   means. Examples of means for processing the mixture to                 microparticles by the application of heat or by Subjecting the
   form droplets include directing the dispersion through an              microparticles to reduced pressure.
   ultraSonic nozzle, pressure nozzle, Rayleigh jet, or by other     35      Another example of a Solvent removal process is shown
   known means for creating droplets from a Solution.                     in U.S. Pat. No. 3,960,757, incorporated herein by reference
      Means Suitable for freezing droplets include directing the          in its entirety.
   droplets into or near a liquified gas, Such as liquid argon or           Tice et al., in U.S. Pat. No. 4,389,330, describe the
   liquid nitrogen to form frozen microdroplets which are then            preparation of microparticles containing an active agent by
   Separated from the liquid gas. The frozen microdroplets are       40   a method comprising: (a) dissolving or dispersing an active
   then exposed to a liquid or Solid non-Solvent, Such as                 agent in a Solvent and dissolving a wall forming material in
   ethanol, hexane, ethanol mixed with hexane, heptane, etha              that Solvent; (b) dispersing the Solvent containing the active
   nol mixed with heptane, pentane or oil.                                agent and wall forming material in a continuous-phase
      The Solvent in the frozen microdroplets is extracted as a           processing medium; (c) evaporating a portion of the Solvent
   Solid and/or liquid into the non-Solvent to form a polymer/       45   from the dispersion of step (b), thereby forming micropar
   active agent matrix comprising a biocompatible polymer and             ticles containing the active agent in the Suspension; and (d)
   a biologically active agent. Mixing ethanol with other non             extracting the remainder of the Solvent from the micropar
   Solvents, Such as hexane, heptane or pentane, can increase             ticles.
   the rate of solvent extraction, above that achieved by ethanol           Further suitable methods of preparation are described in
   alone, from certain polymers, Such as poly(lactide-co             50   U.S. Pat. No. 6,194,006 to Lyons et al., U.S. Pat. Nos.
   glycolide) polymers.                                                   6,110,503, 5,916,598 and 5,792,477 to Rickey et al. and
      A wide range of Sizes of Sustained release compositions             5,650,173 to Ramstack et al. the entire content of all of
   can be made by varying the droplet size, for example, by               which is hereby incorporated by reference.
   changing the ultrasonic nozzle diameter. If the Sustained                 While this invention has been particularly shown and
   release composition is in the form of microparticles, and         55   described with references to preferred embodiments thereof,
   very large microparticles are desired, the microparticles can          it will be understood by those skilled in the art that various
   be extruded, for example, through a Syringe directly into the          changes in form and details may be made therein without
   cold liquid. Increasing the Viscosity of the polymer Solution          departing from the Scope of the invention encompassed by
   can also increase microparticle size. The Size of the micro            the appended claims.
   particles which can be produced by this process ranges, for       60   Experimental Methods
   example, from greater than about 1000 to about 1 microme               Materials
   ters in diameter.                                                        Morphine sulfate, 7-benzylidene-7-dehydronaltrexone
      Yet another method of forming a Sustained release                   (BNTX) HCl, naloxone, naltrexone, 6f-naltrexamine,
   composition, from a Suspension comprising a biocompatible              6f-naltrexol, 6B-naloxol, 6C.-naloxol, 6C.-naltrexol and
   polymer and a biologically active agent, includes film            65   6B-maltrexamide were obtained through the NIDA Drug
   casting, Such as in a mold, to form a film or a shape. For             Supply Program; B-chlornal trexamine (B-CNA),
   instance, after putting the Suspension into a mold, the                f-funaltrexamine HCl (B-FNA), N',N'-diallyl-Tyr-Aib-Aib
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 21 of 29 PageID #: 21739


                                                    US 6,713,488 B2
                              21                                                                 22
   Phe-Leu (ICI 174 864), D-Pen, D-Pen-enkephalin                     further described in Wang et al., J. Biol. Chem., 274, p
   (DPDPE) and pertussis toxin (PTX) were purchased from              22081–22088 (1999). The results of this assay are a direct
   RBI (Natick, Mass.); clocinnamox (C-CAM) was purchased             measure of receptor Signalling. More Specifically, the cell
   from Tocris Cookson (Ballwin, Mo.); nalmefene was pur              membranes used were HEK-MOR cell membranes and the
   chased from Key Pharmaceuticals (Miami, Fla.); D-Phe               assay was conducted in the absence of any agonist to
   Cys-Tyr-D-Trp-Arg-Thr-Pen-Thr-Nh2 (CTAP) was pur                   determine the intrinsic antagonist activity. The experiments
   chased from Multiple Peptide Systems (San Diego, Calif.).          were done with 1 mM MgCl added to the reaction mixture,
    S-Guanosine 5'-(y-thio) triphosphate (46.2 TBq/mmol)              using untreated and morphine-pretreated HEK-MOR cell
   was purchased from NEN (Boston, Mass.), 2.8-H-adenine              membranes. The results are represented graphically in FIG.
   (1.11 TBq/mmol) from ICN (Costa Mesa, Calif); AG 50-X8             1. The amount of drug used was 1 uM. None of the
   resin and empty poly-prechromatography columns were                compounds tested had any measurable effect in mock
   purchased from Bio-Rad; and neutral alumina and imidazole          transfected control cells.
   were purchased from Sigma (St. Louis, Mo.).                          The compounds tested fell into three groups. The first
   In vitro Testing                                                   group (B-CNA, C-CAM, BNTX and nalmefene) decreased
   Cell Culture
                                                                 15
                                                                       S-GTPYS binding activity in both untreated and morphine
      Human embryonic kidney (HEK 293) cells stably trans             pretreated HEK-MOR membranes. In view of these results
   fected with human MOR (N-terminal FLAG-tagged, HEK                 it was concluded that these agents were inverse agonists
   MOR) and mouse 8 opioid receptor (DOR) (HEK-DOR)                   under any condition. The most effective inverse agonist was
   were maintained in DMEM H16/F12 Supplemented with                   B-CNA which has been reported previously by Burford, N.
   10% fetal bovine serum. hMOR-transfected GH cells                  et al., Biochem. J. 348, 531-537 and Wang, D. et al. J.
   (GH-MOR) were cultured in the same medium as HEK                   Neurochem., 75, 763–771. C-CAM, a MOR-selective
   cells, while rat MOR-transfected CHO cells (CHO-MOR)               antagonist as described by Comer, S. D. et al., J. Pharmacol.
   were maintained in F12 Ham's medium supplemented with              Exp. Ther, 262, 1051–1056 (1992), and BNTX, a DOR
   10% fetal bovine serum. All cells were expressing a similar        Selective antagonist as described by Palmer, R. B. et al., J.
   level of receptors (~1 pmol receptor/mg protein, tested by         Med. Chem., 40, 749-753., had already been shown to be
    H-naloxone binding assay) except for GH-MOR, which           25   inverse agonists at DOR (Neilan, C. L. et al., Bri. J.
   had lower receptor density (~150 fmol/mg protein). In all          Pharmacol. 128,556-562 (1999). Dose-response curves for
   three cell lines, 100 m U/mL penicillin, 100 mg/mL strepto         |-CNA (S-GTPYS binding) revealed a twofold difference
   mycin and 200 mg/mL G418 were included in the culture              in naive and morphine-pretreated HEK-MOR cell mem
   medium. The cells were allowed to grow at 37 C. in                 branes (ECs values of 29+3 nM and 59+6 nM,
   humidified atmosphere of 5% CO, 95% air.                           respectively).
      For morphine pretreatment, cells were cultured in the             The Second group, naloxone and naltrexone, displayed no
   presence of morphine (1 mM) for 16 hrs before harvest. For         observable effects in untreated membranes, but decreased
   B-CNA and B-FNA pretreatment, cells were incubated with             S-GTPYS binding activity in morphine pretreated mem
   different concentrations of B-CNA and B-FNA for 3 hrs at           branes. This is consistent with our previous reports showing
   37 C. Cells were then washed thoroughly with phosphate             naloxone has little effect in untreated cells, but turns into an
                                                                 35   inverse agonist in morphine pretreated SH-SY5Y cells
   buffered saline (PBS) to remove the treated drugs before           (Wang, Z. et al., Life Sci., 54, L339-PL350, (1994)).
   membrane preparations.                                               The remaining 7 compounds belong to a third group,
   Membrane Preparations and S-GTPYS Binding Studies                  which had no significant effect on basal S-GTPYS binding
   General Procedure
     Membrane preparations and S-GTPYS binding assays                 activity in both untreated and morphine pretreated mem
   were carried as described in Burford, N. T. et al., Eur: J.
                                                                 40   branes. Acting as neutral antagonists under each condition,
                                                                      these compounds include the naloxone and naltrexone
   Pharmacol. 342, 123-126 (1998), with minor modifications.          analogues, 6C.-naloxol, 6B-naloxol, 6C.-naltrexol,
   Briefly, the desired cells, maintained as described above,         6B-maltrexol and 6C.-naltrexamine, CTAP and B-FNA.
   were harvested and washed with PBS. The cells were then               In addition to the compounds set forth in FIG. 1,
   homogenized in 10 mM HEPES, pH 7.6 buffer and centri          45   6f-naltrexamide was also tested. Results confirm that
   fuged at 30,000 g for 10 min. The pellets were resuspended         6f-naltrexamide is a neutral antagonists Since it had no
   in buffer containing 10 mM HEPES (pH 7.6), 0.1 mM EDTA             significant effect on basal S-GTPYS binding activity in
   and stored at -80 C.                                               both untreated and morphine pretreated membranes. In all
     For S-GTPYS binding assay, cell membranes (50 mg                 a SSay S, 6B-naltrexamide behaved Similarly to
   protein) were incubated with the desired concentration of     50   6f-naltrexamine.
   drug in 500 mL assay buffer (50 mM HEPES, pH 7.4, 100                 Neutral antagonists are expected to block the effects of
   mM NaCl, 1 mM EDTA, 10 uMGDP, 1 mM DTT, 0.2nM                      both agonists and inverse agonists. Indeed, the inverse
    S-GTPYS, 0.1% bovine serum album and different con                agonistic effects of 1 uM B-CNA and C-CAM were partially
   centrations of MgCl) at 30° C. for 20 min. It was deter            or fully blocked by 10 uM 6B-naltrexol (% inhibition:
   mined that the optimum concentration of MgCl2 varied          55   68+17% and 91+9% for B-CNA and C-CAM respectively,
   based on the cell line being employed. The reactions were          n=3). CTAP and C-naloxol (both at a 10 uM concentration)
   stopped by centrifugation at 13,000 g for 10 min and               also blocked the inverse-agonistic effects of B-CNA. This
   membranes were washed once with 50 mM Tris-HCl, pH                 result confirmed that the inverse-agonist effects of B-CNA
   7.4, 50 mM NaCl. Morphine-stimulated S-GTPYS binding               and C-CAM were mediated by MOR. The assay conditions
   assays were carried out in the presence of 10 mM MgCl2 at     60   are identical to thos for Figure except the inverse antagonists
   30° C. for 5 min.                                                  are premixed with the neutral antagonists.
                          EXAMPLE 1.                                                          EXAMPLE 2
   Identification of Neutral Antagonists: Effects of MOR
   Antagonists on S-GTPYS Binding Activity in HEK-MOR                      Effects of Antagonists on cAMP Levels of Intact
   Cell Membranes with or without Morphine Pretreatment          65                         HEK-MOR Cells
     Opioid antagonists were tested for their effect on S                Selected opioid antagonists were also tested for their
   GTPYS binding according to the assay described above and           effects on cAMP levels in the absence of any agonist both in
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 22 of 29 PageID #: 21740


                                                        US 6,713,488 B2
                                 23                                                                    24
   untreated and morphine-pretreated HEK-MOR cells. Opioid                 and 2 nM at MOR and DOR, respectively, as determined
   receptors couple to Gi/Go proteins and inhibit adenylate                from the saturation binding curves of H-naloxone. The
   cyclase. Thus, inverse agonists should release tonic inhibi             results show that each of the neutral antagonists, which are
   tion of adenylate cyclase by MOR and increase cAMP                      analogs of naloxone and naltrexone, had similar affinity for
   levels, whereas neutral antagonists have no effect.                5    MOR. Moreover, each neutral antagonist also displayed
      HEK-MOR cells were cultured in 24 well plates for 3-4                potent DOR binding, with a 2-3 fold selectivity for MOR
                                                                           Over DOR.
   days, labeled with 2 uCi/mL H-adenine for 2 hrs, and
   washed twice with 2 mL serum-free medium. Cells were
                                                                                                      TABLE
   then incubated with 100 uM forskolin in the presence or
   absence of drugs at 37 C. for 30 minutes at a concentration                                       K. Value (nM
   of 1 uM
      The reactions were terminated by adding 1 mL 5%                          Compounds            pu opioid receptor   ö opioid receptor
   trichloroacetic acid containing 1 mM ATP and 1 mM cAMP.                     Naloxone                O.81 - 0.2O         180 - 0.40
    H-cAMP was separated as described by Wong (Wong Y. H.,            15
                                                                               Naltrexone              O.30 - 0.04         1.20 0.09
   Methods in Enzymology, 238, p. 81-94 (1994)). Results were                  6B-Naltrexol
                                                                               6B-Naloxol
                                                                                                       O.80 - 0.21
                                                                                                       1.10 O.O2
                                                                                                                           2.10 O.O1
                                                                                                                           2.30 - 0.05
   expressed as ratios of H-cAMP over total H-ATP, H-ADP                       6B-Naltrexamine         0.63 - 0.05         2.30 - 0.09
   and H-cAMP pools. For morphine pretreatment                                 6C-Naltrexol            0.53 - 0.04         2.40 - 0.10
   experiments, cells were incubated with 1 uM morphine for                    6C-Naloxol              O.63 - 0.04         2.10 - 0.2O
   16 hours before experiments, and then cells were labeled
   with 2 uCi/mL H-adenine for 2 hrs. 1 uM morphine was
   included in the H-adenine labeling medium.                                                      EXAMPLE 4
     As shown in FIG. 2 none of the test compounds had any                       Antagonistic Effect of Naloxone, Naltrexone, and
   effects on cAMP levels. These results are similar to the                      6|B-Naltrexol on Morphine-stimulated S-GTPYS
   results of the S-GTPYS binding assay set forth above.              25             BINDING in HEK-MOR Cell Membranes
   Further, FIG. 2 also shows that the inverse agonists identi               Morphine-stimulated S-GTPYS binding in HEK-MOR
   fied by S-GTPYS binding in cell membranes, B-CNA,                       membranes was dose-dependently inhibited by the opioid
   C-CAM and BNTX, increased forskolin stimulated cAMP                     antagonists naloxone, naltrexone and the neutral antagonist
   levels in both untreated and morphine-pretreated HEK                    analog 6B-naltrexol (FIG. 4). While naltrexone was slightly
   MOR cells. The effect was consistently greater in treated               more potent (IC=6.8+0.1 nM), 6Bnaltrexol and naloxone
   compared to untreated cells. Naloxone and naltrexone had                were equally potent (ICs-18+1 nM and 23+1 nM,
   no significant effect in untreated cells but increased forskolin        respectively). This result is consistent with the result
   stimulated cAMP levels in morphine-pretreated cells. The                obtained from H-naloxone binding analysis (See the Table),
   neutral antagonists, CTAP, 6f-naloxol, 6C.-naloxol and                  indicating that receptor-binding and antagonistic potency of
   6B-naltrexol, 6C.-naltrexol had no effect on forskolin             35   6B-maltrexol fall in between those of naltrexone and nalox
   stimulated cAMP levels in both untreated and morphine                   OC.
   pretreated cells.                                                       In vivo Testing
      These results mirror the results obtained from S-GTPYS               Animal Subjects
   binding assay in HEK-MOR cell membranes using 1 mM                        Adult, male ICR mice (20-35 g, Harlan Industries,
   Mg" described above and depicted graphically in FIG. 1,            40   Cleveland, Ohio) were housed in groups of five in Plexiglas
   with opposite effects of inverse agonists on cAMP levels and            chambers with food and water available ad libitum. Animals
     S-GTPYS binding activity as expected.                                 were maintained in a temperature-controlled colony on a
                           EXAMPLE 3                                       12-hr light/dark cycle. All Studies were conducted in accor
                                                                           dance with the Guide for the Care and Use of Laboratory
           Binding of Antagonists to MOR and DOR                      45   Animals as adopted by the National Institute of Health.
                                                                           Modes of Administration
      Binding potencies of naloxone and naltrexone were com                   Morphine sulfate was dissolved in distilled water for i.c. v.
   pared to those of the following naloxone and naltrexone                 injections and physiological Saline for i.p. injections. All
   analogs: 63-maltrexol, 6f-naloxol, 6C.-naltrexol, 6C.-naloxol,          antagonists were dissolved in physiological Saline for i.p.
   and 6.3-maltrexamine using equilibrium binding analysis            50   injections immediately prior to use, and Selected antagonists
   with H-naloxone as the tracer. Again the results obtained               were also dissolved in distilled water for i.c.V. injections.
   for 6B-naltrexamide were similar to the results for                     Administration of morphine Sulfate (and of Selected
   6f-naltrexamine. Specifically, cell membranes used for                  antagonists) by the i.c.V. route of administration was accom
    H-naloxone binding assay were prepared as described                    plished by direct injection into the left lateral ventricle as
   above for S-GTPYS binding assay. Membranes (20 ug                  55   previously described in Porreca F. et al., J. Pharmacol. Exp.
   protein) were incubated with 2 nM H-naloxone in the                     Ther, 230, p 31-348 (1984).
   absence or presence of 1 uM concentration of the indicated                 Briefly, mice were lightly anesthetized with ether, and a
   drugs at 25 C. for 1 hr. Incubations were terminated by                 Small incision was made along the midline of the Scalp. An
   rapid filtration onto glass-fiber filters (Schleicher & Schuell,        injection was made using a 25 ul Hamilton Syringe at a
   Keene, N.H.). The filters were washed with 10 mL ice-cold          60   point 2 mm caudal and 2 mm lateral from bregma. The
   PBS and the radioactivity quantified using liquid Scintilla             injection was made using a 27 gauge needle at a depth of 3
   tion counting. Each antagonist was tested in triplicate and             mm in a volume of 5 ul. Intraperitoneal injections (i.p.)
   the Ki values presented in the Table are the mean of the                were administered using a 1 mL Syringe with a 30 gauge
   triplicate analysis-SD.                                                 needle.
     The Ki values were calculated as follows: K=ICso/(1+L/           65   Physical Dependence Studies
   Kd) where L is the concentration of H-naloxone used in the                Selected compounds were tested for their ability to elicit
   binding experiments (2 nM). Kd for naloxone was 0.8 nM                  an opioid withdrawal Syndrome in mice treated either
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 23 of 29 PageID #: 21741


                                                        US 6,713,488 B2
                                 25                                                                     26
   acutely or chronically with morphine as described in Bilsky             also injected i.c.V. to assess relative access to the CNS from
   E.J. et al., J. Pharmacol. Exp. Ther, 277, p. 484-490 (1996).           the i.p. route. Mice were tested for antinociception 30 min
   For the acute dependence, mice were pretreated with a single            after morphine administration. To avoid tissue damage, a
   injection of morphine (100 mg/kg, s.c., -4 hr). Chronic                 maximal Score was assigned to mice not responding within
   morphine exposure consisted of implanting a 75 mg mor                   15 Seconds. Percent antinociception was calculated as: (test
   phine pellet S.c. under ether anesthesia and waiting 72 hr.             latency-control latency)/(15-control latency)x100.
                                                                              Specifically, naltrexone, naloxone, 6C.-naloxol,
                           EXAMPLE 5                                       6C.-naltrexol, 6B-naloxol, 6f-naltrexol and 6f-naltrexamine
                                                                           were administered ip at a dose of 10 mg/kg to assess their
                    Acute Dependcy Model                                   ability to block the antinociceptive actions of an ic.V. Aoo
                                                                           dose of morphine (20 nmol/injection) in the 55° C. tail-flick
     To assess precipitation of withdrawal, mice which had                 assay. The results are shown graphically in FIG. 6.
   been pretreated once with morphine (100 mg/kg, s.c., -4.hr)             6f-naltrexamide was also tested and had an effect Similar to
   were injected i.p. with 10 mg/kg doses of the following                 6f-naltrexamine. Therefore, these two compounds are leSS
   compounds: naloxone, naltrexone, 6C.-naloxol,                           potent centrally than 6f-naltrexol, even though the demon
   6C.-naltrexol, 6f-naltrexol, 6B-naloxol, 6f-naltrexamine and       15   Strated Similar receptor binding potency. Hese comouonds
   6B-naltrexamide (results not present in FIG. 4). Immediately            may be preferred for Selectively blocking periperal opioid
   following administration of the Selected antagonist, animals            drug action, without the adverse side effects (e.g., diarrhea
   were placed in a clear Plexiglas cylinder and observed for 15           or constipation). The results show that the prototypal opioid
   minutes. The number of Vertical jumps was recorded during               antagonists naloxone and naltrexone blocked morphine anti
   this time and Served as a measure of withdrawal Severity                nociception. Further, the 6C.-naloxol and 6C.-naltrexol, as
   (Yano, I. and Takemori, A. E., Res. Commun. Chem. Pathol.               well as 6B-maltrexol, also blocked the antinociceptive
   Pharmacol., 16, p 721-734 (1977)).                                      actions of morphine. However, the 6 B-naloxol and
                                                                           6f-naltrexamine produced only partial blockade. Morphine
      The results are depicted graphically in FIG. 4 and show              was given i.c.V. to assure that the antagonist effects are
   that, as expected, naloxone and naltrexone precipitated            25   centrally mediated.
   robust withdrawal jumping. Both the 6C.-naloxol and                        In addition, complete i.p. antagonist dose-response curves
   6C.-naltrexol analog showed approximately 50% less jump                 were developed to determine the rank order for naltrexone,
   ing that their parent compound. However, the 6f-naltrexol,              naloxone and the neutral antagonist 63-maltrexol against
   6f-naloxol, 6f-naltrexamine and 6(3-maltrexamide elicited               morphine-induced antinociception (20 nmol morphine, Ao
   no withdrawal jumping.                                                  dose, i.c.V.). The results are depicted graphically in FIG. 7.
                                                                           Morphine was administered i.c.V to assure that the test
                           EXAMPLE 6                                       compound acted centrally. The rank order of potency was
                                                                           naltrexone, 6B-naltrexol and naloxone (IDso value 95%
                   Chronic Dependency Model                                C.I.: 0.22 mg/kg 0.11-0.43; 1.0 mg/kg 0.58-1.7); 1.1
     Increasing doses of naloxone (0.1, 0.5 and 1.0 mg/kg),                mg/kg 0.66-1.8), respectively).
                                                                      35
  naltrexone (0.05, 0.1, 0.5 and 1.0 mg/kg) and 6B-naltrexol                  A Second dose-response curve was also generated, as
  (5, 10 and 100 mg/kg) were also tested for their ability to              described above, but wherein the antagonists were admin
                                                                           istered using an i.c.V. injection. The rank order of potency
  elicit withdrawal jumping in a chronic model of physical                 (IDs value 95% C.I.) remained similar for naltrexone,
  dependence, using morphine pellet implantation. The results              6B-maltrexol and naloxone: 0.26 nmol O.15-0.46), 2.3 nmol
  are depicted graphically in FIG. 5. Naltrexone and naloxone         40    1.3-4.0), and 3.4 nmol 1.7–6.8, respectively.
  (i.p.) potently produced dose-related increases in withdrawal               While this invention has been particularly shown and
  jumping that appeared to plateau at approximately 200                    described with references to preferred embodiments thereof,
  jumpS/mouse. The doses of naltrexone and naloxone needed                 it will be understood by those skilled in the art that various
  to elicit 100 jumps/mouse were approximately 0.1 and 0.3                 changes in form and details may be made therein without
  mg/kg, respectively. In contrast, 6B-naltrexol was much leSS        45   departing from the Scope of the invention encompassed by
  potent at precipitating withdrawal jumping, with a calcu                 the appended claims.
  lated dose of 10 mg/kg needed to precipitate 100 jumps on                  What is claimed is:
  average. This is consistent with the ability of 6B-maltrexol to             1. A method for the treatment of drug-dependency in an
  diminish withdrawal (at a dose of 10 mg/kg) in the acute                 individual in need thereof comprising administering to the
  mouse model of morphine dependence, in which antagonists            50   individual a therapeutically effective amount of a naloxone
  are generally less potent. Similarly, 6B-maltrexamide had                analog or naltrexone analog or a pharmaceutically accept
  low potency in eliciting withdrawal jumping with and ECso                able Salt thereof which is a neutral antagonist at the u opioid
  similar to 6B-maltrexol.                                                 receptor.
                                                                              2. The method of claim 1, wherein the naltrexone analog
                           EXAMPLE 7                                  55
                                                                           is represented by Formula I:
                       Antinociceptive Studies
      Antinociception was assessed using the 55 C. warm
   water tail flick assay. The latency to the first Sign of a rapid
   tail-flick was used as the behavioral endpoint. Each mouse         60
   was tested for base-line latency by immersing its tail in the
   water bath and recording the time to response. Mice that
   displayed a tail-flick latency of greater than 5 Seconds were
   eliminated from further testing. An i.p. injection of vehicle
   or one of the test compounds was followed 10 minutes later         65
   by morphine Sulfate (20 nmol, i.c.V., Ago dose producing
   antinociception) administration. Selected antagonists were
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 24 of 29 PageID #: 21742


                                                         US 6,713,488 B2
                                 27                                                                      28
   wherein:                                                                            -continued

       R" is cycloalkyl(alkyl) or cycloalkenyl(alkyl);
       ° is H, OH or esters thereof;                                 5
        is H, alkyl or (alkyl) C=O;
       "and are independently H, halogen, alkyl, alkoxy, nitro,
         amino, cyano, carboxyl or acyl which can be Substi
         tuted for one or more hydrogens on the ring,       1O
       X is -OR- - NR7RR-NCOR19. -NO. - SR'';                                                                     NHCOCH
                                                                                                6B-Naltrexamide
   wherein,
                                                                     15
       P and R' are independently selected from H, alkyl,
         Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
         aryl, Substituted aryl, acyl, or aroyl;
       7 R and R' are independently selected from hydrogen, 20
         alkyl, Substituted alkyl, cycloalkyl, Substituted
         cycloalkyl, aryl, or Substituted aryl;
       P and R' can be present or absent and are independently
         Selected from hydrogen, alkyl, Substituted alkyl, as
          cycloalkyl, Substituted cycloalkyl, aryl, or Substituted
          aryl or pharmaceutically acceptable Salts thereof.
       3. The method of claim 2, wherein the naltrexone analog
   S
                                                                     3O




                                                                     35                             6B-Naltrexamine

                                                                          or the pharmaceutically acceptable Salts thereof.
                                                                            4. The method of claim 1, wherein the naloxone analog is
                                                                     a represented by Formula I:


                                                                     45




                                                                     50

                               6B-Naltrexol
                                                                          wherein:
                                                                            R" is alkenyl;
                                                                     55     R is H, OH or esters thereof;
                                                                            R is H, alkyl or (alkyl)C=O;
                                                                            R" and R are independently H, halogen, alkyl, alkoxy,
                                                                              nitro, amino, cyano, carboxyl or acyl which can be
                                                                              Substituted for one or more hydrogens on the ring;
                                                                     60     X is -OR,-NR7RR, -NCOR', -NO, -SR'';
                                                                            wherein,
                                                                              R and R'' are independently selected from H, alkyl,
                                                                                 Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                                 aryl, substituted aryl, acyl, or aroyl, R, R and R'
                                                                     65          are independently Selected from hydrogen, alkyl,
                           6C-Naltrexamide                                       Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                                 aryl, or Substituted aryl;
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 25 of 29 PageID #: 21743


                                                   US 6,713,488 B2
                               29                                                                30
       R” and R' can be present or absent and are indepen              6. The method of claim 1, wherein the individual is in
          dently Selected from hydrogen, alkyl, Substituted          long-term therapy to prevent relapse to drug dependency.
          alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or          7. The method of claim 1, wherein the individual is
          substituted aryl                                           undergoing drug overdose treatment.
   or pharmaceutically acceptable Salts thereof.
     5. The method of claim 4, wherein the naloxone analog is          8. The method of claim 1, wherein the individual is
                                                                     undergoing active withdrawal treatment.
                                                                        9. A method for the treatment of drug-dependency in an
                                                                     individual in need thereof comprising administering to the
                                                                     individual a therapeutically effect amount of a Sustained
                                                                     release composition comprising:
                                                                        a. biocompatible polymer; and
                                                                        b. an effective amount of a neutral antagonist Selected
                                                                           from a naloxone analog or naltrexone analog or the
                                                                15         pharmaceutically acceptable Salts thereof which are
                                                                           neutral antagonist at the u opioid receptor.
                                                                        10. The method of claim 9, wherein the naltrexone analog
                                                                     is represented by Formula I:



                                    w
                                  ww
                                Ow
                   HO
                                                                25
                            6B-Naloxol




                                                                     wherein:
                                                                       R" is cycloalkyl(alkyl) or cycloalkenyl(alkyl);
                                                                       R is H, OH or esters thereof;
                                                                35     R is H, alkyl or (alkyl)C=O;
                                                                       R" and R are independently H, halogen, alkyl, alkoxy,
                                                                         nitro, amino, cyano, carboxyl or acyl which can be
                                                                         substituted for any hydrogen on the ring; X is -OR,
                                                                40       -NR7RR, -NCOR), -NO, -SR';
                                                                       wherein,
                                                                         R and R' are independently selected from H, alkyl,
                                                                          Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                          aryl, substituted aryl, acyl, or aroyl, R' R and R'
                                                                45          are independently Selected from hydrogen alkyl,
                                                                            Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                            aryl, or Substituted aryl,
                                                                         R” and R' can be absent or present and are indepen
                                                                            dently Selected from hydrogen alkyl, Substituted
                                                                50          alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or
                                                                            Substituted aryl,
                                                                     or pharmaceutically acceptable Salts thereof.
                                                                       11. The method of claim 10, wherein the naltrexone
                                                                     analog is
                                                                55




                                                                60



                 HO                       NHCOCH
                          6B-Naloxamide                         65
                                                                                             6C-Naltrexol
   or pharmaceutically acceptable Salts thereof.
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 26 of 29 PageID #: 21744


                                                       US 6,713,488 B2
                                31
               -continued

                                    su-A
                                      X

                                   s'             'H           1O

                             6B-Naltrexol
                                                                    wherein:
                                                               15        R" is alkenyl;
                                                                         R is H, OH or esters thereof;
                                                                         R is H, alkyl or (alkyl)C=O;
                                                                         R" and R are independently H, halogen, alkyl, alkoxy,
                                                                           nitro, amino, cyano, carboxyl or acyl which can be
                                                                           Substituted for one or more hydrogens on the ring, X is
                                                                           –OR, -NR7RR, -NCOR', -NO, -SR';
                                                                         wherein,
                                                                           R and R' are independently selected from H, alkyl,
                                                               25
                                                                            Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                            aryl, substituted aryl, acyl, or aroyl, R, R and R'
                                                                             are independently Selected from hydrogen, alkyl,
                                                                             Substituted alkyl, cycloalkyl, Substituted cycloalkyl,
                                                                             aryl, or Substituted aryl,
                                                                           R and R' can be absent or present and are indepen
                                                                           dently Selected from hydrogen, alkyl, Substituted
                                                                           alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or
                                                                           substituted aryl
                                                                    or pharmaceutically acceptable Salts thereof.
                 HO                         NHCOCH             35     13. The method of claim 12, wherein the naloxone analog
                                                                    is
                            6B-Naltrexamide


                                                               40




                                                               45

                  HO                          H



                                                               50




                                                               55




                                                               60
                             6B-Naltrexamine


   or the pharmaceutically acceptable Salts thereof.
                                                               65
      12. The method of claim 9, wherein the naloxone analog                                  6C-Naloxamine
   is represented by Formula I:
Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 27 of 29 PageID #: 21745


                                                     US 6,713,488 B2
                                                                                                   34
               -continued                                              17. A method for the precipitation of withdrawal from
                                                                    acute opioid effects in an individual in need thereof com
                                                                    prising administering to the individual a therapeutically
                                                                    effective amount of a naloxone analog or naltrexone analog
                                                                    or a pharmaceutically acceptable Salt thereof which is a
                                                                    neutral antagonist at the u opioid receptor.
                                                                       18. The method of claim 1, wherein the compounds act in
                                                                    one or more of centrally or peripherally when administered
                                                                    in one or more of peripherally or centrally.
                                                               1O     19. The method of claim 9, wherein the Sustained release
                                                                    composition releases a therapeutically effective amount of
                                                                    the neutral antagonist for about 1 day.
                                                                      20. The method of claim 9, wherein the Sustained release
                                                                    composition releases a therapeutically effective amount of
                                                               15
                                                                    the neutral antagonist for greater than about 2 dayS.
                                                                      21. The method of claim 19, the Sustained release com
                                                                    position releases a therapeutically effective amount of the
                                                                    neutral antagonist for about 7 dayS.
                                                                      22. The method of claim 17 wherein the individual is a
                                                                    human.
                                                                      23. The method of claim 17 wherein the individual is a
                                                                    mammal or non-mammal animal.
                                                                      24. The method of claim 23 wherein said individual is one
                                                                    or more of the group consisting of canine, murine, feline,
                                                                    bovine, Ovine, Swine or caprine.
                                                               25     25. A method of alleviating adverse effects associated
                                                                    with opioid use by an individual in need thereof comprising
                                                                    administration to the individual of a therapeutically effective
                 HO
                                                                    amount of a naloxone analog or naltrexone analog or a
                                            NHCOCH                  pharmaceutically acceptable Salt thereof which is a neutral
                            6B-Naloxamide                           antagonist at the u opioid receptor.
                                                                      26. The method of claim 25 wherein an individual is using
                                                                    opioids for analgesia.
   or pharmaceutically acceptable Salts thereof.                      27. The method of claim 25 wherein an individual is
     14. The method of claim 9, wherein the individual is in        experiencing opioid withdrawal effects.
   long-term therapy to prevent relapse to drug dependency.    35     28. The method of claim 25 wherein the adverse effects of
     15. The method of claim 9, wherein the individual is           opioid use include respiratory depression.
   undergoing drug overdose treatment.                                29. The method of claim 25 wherein the adverse effects of
     16. The method of claim 9, wherein the individual is           opioid use include alteration of gastrointestinal transit.
   undergoing active withdrawal treatment.                                                 k   k   k    k   k
    Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 28 of 29 PageID #: 21746
               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,713,488 B2                                                               Page 1 of 2
DATED           : March 30, 2004
INVENTOR(S) : Wolfgang Sadee and Danxin Wang

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:

       Column 26
       Line 53, cancel the text beginning with “2. The method of claim 1' to and ending with
       “aryl or pharmaceutical acceptable Salts thereof.”
       Column 27
       Line 27, and insert the following claim:
                                       R2




       2.       The method of Claim 1, wherein the naltrexone analog is represented by For
       mula I:
       wherein:
                R" is cycloalkyl(alkyl) or cycloalkenyl (alkyl);
                R’ is H, OH or esters thereof;
                R is H, alkyl or (alkyl) C=O;
                R" and Rare independently H, halogen, alkyl, alkoxy, nitro, amino, cyano, car
       boxyl or acyl which can be substituted for one or more hydrogens on the ring;
                X is -OR. -NR'R'R''.-NCOR', -NOz, -SR'':
       wherein,
    Case 1:99-mc-09999 Document 313-1 Filed 03/18/20 Page 29 of 29 PageID #: 21747
               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,713,488 B2                                                                    Page 2 of 2
DATED           : March 30, 2004
INVENTOR(S) : Wolfgang Sadee and Danxin Wang

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:

       Column 27. (Cont.)
                R" and R'' are independently selected from H, alkyl, substituted alkyl;
                cycloalkyl, Substituted cycloalkyl, aryl, Substituted aryl, acyl, or aroyl;
                R", Rand R" are independently selected from hydrogen, alkyl, substituted
                alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or Substituted aryl;
                R” and R' can be present or absent and are independently selected from
               hydrogen, alkyl, Substituted alkyl, cycloalkyl, Substituted cycloalkyl, aryl, or
               Substituted aryl
       or pharmaceutically acceptable Salts thereof.




                                                                   Signed and Sealed this
                                                          Twenty-fifth Day of January, 2005


                                                                                  WDJ
                                                                             JON W. DUDAS
                                                         Director of the United States Patent and Trademark Office
